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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


   JANE DOE,

                  Plaintiff,

          v.                                        Civil Action No. 1:19-cv-01173-CJN

   DISTRICT OF COLUMBIA,

                  Defendant.


                                            NOTICE

       Defendant District of Columbia (the District) respectfully notifies the Court that the

Parties have reached a settlement resolving all remaining claims in the case, and Plaintiff Jane

Doe has executed the final written settlement agreement. Thus, Plaintiff’s Bill of Costs [138]

and Motion for Attorneys’ Fees and Costs [140] are now moot. The Parties expect to file a joint

stipulation of dismissal soon.

Date: January 18, 2024                       Respectfully submitted,

                                             BRIAN. L. SCHWALB
                                             Attorney General for the District of Columbia

                                             STEPHANIE E. LITOS
                                             Deputy Attorney General
                                             Civil Litigation Division

                                             /s/ Alicia M. Cullen
                                             ALICIA M. CULLEN [1015227]
                                             Chief, Civil Litigation Division, Section III

                                             /s/ Jhumur Razzaque
                                             ALEX KARPINSKI [982184]
                                             JHUMUR RAZZAQUE [1003411]
                                             Assistant Attorneys General
                                             Civil Litigation Division
                                             400 6th Street NW
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                             Washington, D.C. 20001
                             Phone: (202) 442-9866; (202) 442-4288
                             Fax: (202) 730-1439
                             Email: alex.karpinski@dc.gov;
                             jhumur.razzaque@dc.gov
                             Counsel for Defendant District of Columbia




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